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     Park Place Securities, Inc. Asset-Backed Pass-Through Certificates Series, 2005-WCW1
 8
                                UNITED STATES DISTRICT COURT
 9
                                     DISTRICT OF NEVADA
10
      WELLS FARGO BANK, N.A. AS TRUSTEE                 Case No.: 2:22-cv-00616-APG-EJY
11    ON BEHALF OF THE CERTIFICATE-
      HOLDERS PARK PLACE SECCURITIES,
12
      INC. ASSET-BACKED PASS-THROUGH                    STIPULATION AND ORDER TO
13    CERTIFICATES SERIES 2005-WCW1,                    EXTEND TIME TO FILE AMENDED
                                                        COMPLAINT
14                         Plaintiff,
             vs.                                        (Second Request)
15
16    FIDELITY NATIONAL TITLE GROUP,
      INC.; FIDELITY NATIONAL TITLE
17    INSURANCE COMPANY; DOE
      INDIVIDUALS I through X; and ROE
18    CORPORATIONS XI through XX, inclusive,
19
                          Defendants.
20
21        Plaintiff, Wells Fargo Bank N.A. as Trustee on behalf of the Certificate holders Park Place

22   Securities, Inc. Asset-Backed Pass-Through Certificates Series, 2005-WCW1 (“Wells Fargo”),

23   and Defendants Fidelity National Title Group, Inc.(“FNTG”) and Fidelity National Title

24   Insurance Company (“FNTIC” collectively the “Defendants” and with Wells Fargo, the “Parties),

25   hereby submit the following Stipulation to Extend Time to File Amended Complaint. The Parties,

26   by and through their undersigned counsel, stipulate and agree as follows:

27      1. On April 12, 2022, Wells Fargo filed its Complaint in Eighth Judicial District Court, Case

28          No. A-22-851046-C [ECF No. 1-1];




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 1      2. On April 13, 2022, Defendants filed a Petition for Removal to this Court [ECF No. 1];
 2      3. Thereafter, on October 28, 2022, the Court granted in part FNTIC’s motion to dismiss
 3          [ECF No. 17] and ordered that Wells Fargo may file an amended complaint, if facts exist
 4          to do so [ECF No. 27];
 5      4. Wells Fargo’s deadline to file its Amended Complaint is currently November 23, 2022;
 6      5. Wells Fargo has conferred with Defendants and requested an extension of seven (7) days
 7          to November 30, 2022, to file its Amended Complaint to allow counsel for Wells Fargo
 8          additional time to finalize due to the upcoming Thanksgiving holiday;
 9      6. Defendants do not object to the requested extension;
10      7. The Parties hereby agree that Wells Fargo shall have an additional seven (7) days up to
11          and including November 30, 2022 to file its Amended Complaint.
12      8. This is the second request for an extension which is made in good faith and not for purposes
13          of delay.
14          IT IS SO STIPULATED.
15    DATED this 23rd day of November, 2022.            DATED this 23rd day of November, 2022.
16    WRIGHT, FINLAY & ZAK, LLP                         SINCLAIR BRAUN LLP
17
      /s/ Lindsay D. Dragon                             /s/ Kevin S. Sinclair
18    Lindsay D. Dragon, Esq.                           Kevin S. Sinclair, Esq.
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21    as Trustee on behalf of the Certificate holders   Title Group, Inc. and Fidelity National Title
      Park Place Securities, Inc. Asset-Backed          Insurance Company
22    Pass-Through Certificates Series, 2005-
23    WCW1

24                                                IT IS SO ORDERED.
25
                                                  DATED: November 23, 2022
26
27
28                                                ________________________________________
                                                  UNITED STATES MAGISTRATE JUDGE



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